     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 1 of 6 Page ID
                                     #:42759


 1   BRIAN BOYNTON
 2   Acting Assistant Attorney General
     Civil Division
 3   AUGUST E. FLENTJE
 4   Special Counsel
     WILLIAM C. PEACHEY
 5   Director, District Court Section
 6   Office of Immigration Litigation
     WILLIAM C. SILVIS
 7   Assistant Director, District Court Section
 8
     Office of Immigration Litigation
     SARAH B. FABIAN
 9   NICOLE N. MURLEY
10
     Senior Litigation Counsel
           Tel: (202) 532-4824
11         Fax: (202) 305-7000
12
           Email: Sarah.B.Fabian@usdoj.gov

13   Attorneys for Defendants
14
                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16    JENNY LISETTE FLORES; et al.,               Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                                  JOINT STATUS REPORT
19
                   v.

20    MONTY WILKINSON, Acting
21
      Attorney General of the United States;
      et al.,
22

23            Defendants.
24

25

26
     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 2 of 6 Page ID
                                     #:42760


 1
           On January 29, 2021, the Court ordered:
 2          By March 5, 2021, the parties shall file a joint status report on the status
 3          of the draft CBP settlement agreement relating to Plaintiffs’ Ex Parte
            Application for a Temporary Restraining Order regarding CBP [Doc.
 4          # 572].
 5
     ECF No. 1077, ¶ 3. In accordance with the Court’s order, the parties submit the
 6
     following.
 7
     PLAINTIFFS’ POSITION:
 8
           Plaintiffs agree with Defendants that after numerous meetings and exchanges
 9
     of draft settlement proposals, the parties have made significant progress in their
10   negotiations, and may be close to finalizing the terms of a settlement. Plaintiffs also
11   appreciate that new leadership at the U.S. Department of Homeland Security and
12   U.S. Customs and Border Protection need to become familiar with the draft
13   settlement, and may also wish to consider the effect of the Ninth Circuit’s December
14   29, 2020 Order on their willingness (rather than “ability” as Defendants state) to
15   enter into this settlement as currently drafted.
16         Nevertheless, it does not appear that the Ninth Circuit’s decision necessarily

17
     has any impact on Defendants’ ability to conclude the CBP settlement. In short, the
     CBP settlement may be concluded regardless of Defendants’ decision regarding the
18
     Ninth Circuit’s December 29, 2020 Order, which largely focuses on ICE’s and
19
     ORR’s obligations under Defendants’ new regulations.
20
           On June 17, 2016, this Court ordered the parties, including Defendants’
21
     “decision-maker(s)” to mediation before then-Chief Judge George H. King. [Dkt. #
22
     223.] On June 20, 2016, Judge King ordered counsel responsible for the conduct and
23
     trial of the pending matter, along with “authorized representative[s] [if ICE and
24
     CBP] who ha[ve] FULL authority to settle,” to appear for a settlement conference
25   with Judge King. [Dkt. # 224.] Thereafter, on August 23, 2016, Defendants were
26   again ordered to appear for further settlement discussions including the attendance
     of the Deputy Commissioner because “the ultimate authority for negotiations
     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 3 of 6 Page ID
                                     #:42761


 1
     appear[s] to reside with [him].” [Dkt. #244.] On August 29,2016, the Court denied
 2   the request of the Chief of the U.S. Border Patrol, Mark Morgan, to appear via video
 3   conference or telephone conference at a settlement conference. [Dkt.# 248.] While
 4   these negotiations did not result in a settlement, they did focus the parties on their
 5   remaining differences and Plaintiffs believe narrowed the issues the Court was
 6   ultimately required to address.
 7         Plaintiffs urge the Court to again Order the parties to meet in person or via
 8   video conference within the next twenty (20) days with Special Master Andrea Ordin

 9
     and Medical Monitor Dr. Paul Wise and require the presence of Troy Miller, the
     Senior Official currently performing the duties of the Commissioner of CBP, and the
10
     Chiefs of the El Paso and McAllen CBP Sectors.
11
           This is likely the only path forward that may allow the parties to conclude a
12
     settlement after hundreds of hours have been dedicated to this matter arriving at the
13
     point where, as Defendants state, they are now “close to finalizing the terms of a
14
     settlement …”
15
           Encouraging the parties to seriously explore whether a settlement may be
16
     reached is made all the more important by numerous recent reports of an emerging
17
     crisis because of the growing population of minors in CBP custody for more than
18   seventy-two (72) hours. 1 While Defendants claim that the issue is not an operational
19   concern or particular sticking point that remains to be resolved, but rather a legal
20

21   1
       See, e.g., CNN Exclusive: Unaccompanied kids being held by Border Patrol for 77
22
     hours on average, internal documents show,
     https://www.cnn.com/2021/03/03/politics/immigration-us-mexico-border-
23   crisis/index.html; CBS U.S. shelters for migrant children near maximum capacity
24
     as border crossings increase, https://www.cbsnews.com/news/u-s-shelters-for-
     migrant-children-near-maximum-capacity-as-border-crossings-increase/ (lasted
25   checked March 5, 2021). On March 2, 2021, the Border Patrol had more than
26
     1,300 unaccompanied children in custody waiting for placement by HHS.
     https://www.cnn.com/2021/03/02/politics/us-mexico-border-children/index.html
     (lasted checked March 5, 2021).
     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 4 of 6 Page ID
                                     #:42762


 1
     question regarding how Defendants wish to proceed in light of the December 29,
 2   2020, Ninth Circuit’s Order, the rapidly increasing number of minors being held for
 3   extraordinarily long periods of time in unsafe conditions in CBP custody strongly
 4   suggest that speed in moving the issue forward is now essential. 2
 5   DEFENDANTS POSITION:
 6         Defendants believe that the parties have made significant progress in their
 7   negotiations, and may be close to finalizing the terms of a settlement. However,
 8   while Defendants remain willing to continue settlement discussions in the future, if

 9
     appropriate, Defendants are unable to finalize any settlement at this time.
     Specifically, Defendants need time to ensure that new leadership at the U.S.
10
     Department of Homeland Security and U.S. Customs and Border Protection is
11
     familiar with the draft settlement, and also need to consider internally the effect of
12
     the Ninth Circuit’s December 29, 2020 Order on their ability to enter into this
13
     settlement as currently drafted. Because Defendants’ ability to enter into this
14
     settlement may be affected by the government’s decision regarding the next steps it
15
     will take with regard to the Ninth Circuit’s decision, Defendants ask that they be
16
     allowed to submit a further update to the Court after that decision is made.
17
           Defendants do not agree that the forced participation in mediation of high-
18   level agency officials—who have not to-date been involved in these discussion—
19   would be fruitful at this time. The issue today is not an operational concern or
20   particular sticking point that remains to be resolved, but a legal question that the
21

22   2
      While this status report is not the place to begin litigating next steps in light of the
23   Ninth Circuit’s Order, it is hardly clear that the Order is intended to sunset all
     portions of the FSA that deal with CBP custody. For example, while the FSA
24
     clearly requires that a Class Member’s right to release and efforts aimed at release
25   are required to commence and be recorded “[u]pon taking a minor into custody,”
     (FSA ¶ 18), the regulations addressing apprehension say nothing about these rights
26   until well after minors are transferred to ICE or ORR. See 84 Fed. Reg. 44,392, at
     44527 (Aug. 23, 2019) (addressing DHS custodial care immediately after
     apprehension).
     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 5 of 6 Page ID
                                     #:42763


 1
     government needs to address internally before it can decide if entering into this
 2   settlement is an appropriate course of action. As soon as these strategic legal issues
 3   are resolved, the Defendants can advise the Court about how they intend to move
 4   forward, including whether finalization of the settlement is possible.
 5
     DATED: March 5, 2021                   /s/Peter Schey (with permission)
 6
                                            Class Counsel for Plaintiffs
 7                                          CENTER FOR HUMAN RIGHTS &
                                            CONSTITUTIONAL LAW
 8
                                            Peter A. Schey
 9                                          Carlos Holguín
10
     DATED: March 5, 2021                   BRIAN BOYNTON
11                                          Acting Assistant Attorney General
                                            Civil Division
12
                                            AUGUST E. FLENTJE
13                                          Special Counsel
                                            Civil Division
14                                          WILLIAM C. PEACHEY
15                                          Director, District Court Section
                                            Office of Immigration Litigation
16                                          WILLIAM C. SILVIS
17                                          Assistant Director, District Court Section
                                            Office of Immigration Litigation
18

19
                                            /s/ Sarah B. Fabian
                                            SARAH B. FABIAN
20                                          NICOLE N. MURLEY
21
                                            Senior Litigation Counsel
                                            Office of Immigration Litigation
22                                          District Court Section
23
                                            P.O. Box 868, Ben Franklin Station
                                            Washington, D.C. 20044
24                                          Tel: (202) 532-4824
25
                                            Fax: (202) 305-7000
                                            Email: sarah.b.fabian@usdoj.gov
26
                                            Attorneys for Defendants
     Case 2:85-cv-04544-DMG-AGR Document 1087 Filed 03/05/21 Page 6 of 6 Page ID
                                     #:42764


 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on March 5, 2021, I served the foregoing pleading on all

 4   counsel of record by means of the District Clerk’s CM/ECF electronic filing system.
 5

 6                                               /s/ Sarah B. Fabian
 7
                                                 SARAH B. FABIAN
                                                 U.S. Department of Justice
 8                                               District Court Section
 9
                                                 Office of Immigration Litigation

10                                               Attorney for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
